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 1                              DECLARATION OF CATHRINE M. CASTALDI

 2            I, CATHRINE M. CASTALDI, declare as follows:

 3            1.       I am an attorney at law duly licensed to practice before the above-entitled Court,

 4   and am member of the law firm of Brown Rudnick LLP, attorneys of record for the Official

 5   Committee of Unsecured Creditors for the Bankruptcy Estate of Ironclad Performance Wear

 6   Corporation, a California corporation.

 7            2.       I have first-hand personal knowledge of the matters set forth herein, and if called

 8   upon as a witness, would and could competently testify thereto.

 9            3.       This declaration is submitted in support of the attached Amended Second and Final

10   Application for Allowance of Fees and Costs Filed by Brown Rudnick LLP [November 9, 2017

11   through February 5, 2018] (“Application”). Unless otherwise stated herein, capitalized terms shall

12   have the same meaning as in the Application.

13            4.       I am one of the designated professional responsible for overseeing the billing in this

14   matter and for assuring compliance with the United States Trustee’s Guidelines relating to billing.

15            5.       With the exception of the general sharing of compensation between members and

16   employees of the firm, no agreement or understanding exists between Applicant and any other

17   individual or entity for the sharing of compensation to be received for services rendered or the

18   reimbursement of costs incurred in or in connection with this case.

19            6.       A true and correct copy of the Employment Order is attached hereto as Exhibit “1.”

20            7.       Attached as Exhibit “2” is a true and correct copy of attorney time records for

21   services rendered by professionals in this firm on behalf of the Trustee in the above entitled

22   matter, together with a record of all costs incurred during Second Reporting Period.

23            8.       Attached as Exhibit “3” are certain summary schedules as recommended in the

24   United States Trustee’s Guidelines.

25            9.       A brief biographical description of the attorneys who rendered services for which

26   compensation is sought by this Application is attached as Exhibit “4.”

27            10.      Attached as Exhibit “5” is a schedule of costs and expenses incurred or paid by

28   Applicant during the Reporting Period.
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